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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                                    Plaintiffs,

             v.

MIGUEL CARDONA, in his official capacity as                    Civil Action No. 20-cv-01468-CJN
Secretary of Education, et al.,

                                   Defendants,

             and

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al.,

                                  Intervenor-Defendants.


                                     JOINT STATUS REPORT
        On July 6, 2021, the parties filed a joint status report requesting that the Court continue the

present stay of all pending briefing deadlines and hold this case in abeyance until September 7,

2021. Joint Status Report at 2-3, ECF No. 150. The Court granted the parties’ request, and directed

the parties to file an additional joint status report on or before September 7, 2021. Minute Order,

July 8, 2021. In accordance with the Court’s order, the parties have met and conferred and

respectfully file this Joint Status Report.

        1.        This case involves an Administrative Procedure Act challenge to a rule issued by

the U.S. Department of Education, 85 Fed. Reg. 30,026 (May 19, 2020) (“the rule”).

        2.        As detailed in the parties’ earlier joint status reports, the President has issued an

executive order directing the Secretary of Education to examine the rule for consistency with Title

IX of the Education Amendments of 1972, 20 U.S.C. 1681 et seq., and existing federal policy, and

as part of implementing that order, the Department of Education has announced a comprehensive

review of the rule. See ECF No. 148 at 1-2, ECF No. 150 at 1.




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          3.     As part of this comprehensive review, on July 20, 2021, the Department’s Office

for Civil Rights (“OCR”) issued a Questions and Answers resource and related Appendix about

the rule. See Questions and Answers on the Title IX Regulations on Sexual Harassment (July

2021). 1 The stated purpose of the question-and-answer document is to provide additional clarity
about how OCR interprets schools’ existing obligations under the rule, including the areas in which

schools have discretion in their procedures for responding to reports of sexual harassment. See id.

The Intervenor-Defendant organizations preserve the right to argue in this case and others that the

Questions and Answers document is contrary to the rule and otherwise unlawful.

          4.     On July 28, 2021, the U.S. District Court for the District of Massachusetts issued a

decision in Victim Rights Law Center et al. v. Cardona, No. 1:20-cv-11104, 2021 WL 3185743

(D. Mass. July 28, 2021). The court upheld most of the provisions of the rule challenged by the

plaintiffs in that case, but it found one part of 34 C.F.R. § 106.45(b)(6)(i) (live hearing requirement

for the Title IX grievance process at postsecondary institutions only) to be arbitrary and capricious

and remanded it to the Department for further consideration. 2021 WL 3185743 at *15-16, 19. In

a subsequent order, the court clarified that it had vacated that provision. Order, Victim Rights Law

Center et al. v. Cardona, No. 1:20-cv-11104, ECF No. 186 (D. Mass. Aug. 10, 2021). Specifically,

the court vacated the part of 34 C.F.R. § 106.45(b)(6)(i) that prohibits a decision-maker from

relying on statements that are not subject to cross-examination during the hearing: “If a party or

witness does not submit to cross-examination at the live hearing, the decision-maker(s) must not

rely on any statement of that party or witness in reaching a determination regarding

responsibility….” See 2021 WL 3185743 at *15-16, 19. The appeal deadline for this ruling is

September 27, 2021.

          5.     In response to the court’s vacatur, which has nationwide effect, the Department sent

a letter to stakeholders announcing that the Department would immediately cease enforcement of

the vacated portion of the rule. See Letter to Students, Educators, and other Stakeholders re Victim

1   https://www2.ed.gov/about/offices/list/ocr/docs/202107-qa-titleix.pdf



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Rights Law Center et al. v. Cardona (Aug. 24, 2021); 2 see also Office for Civil Rights Blog,
Update on Court Ruling About the Department of Education’s Title IX Regulations (Aug. 24,

2021). 3

           5.    As indicated in OCR’s June 23, 2021 Letter to Educators and in a previous letter to

Students, Educators, and Other Stakeholders,4 OCR anticipates publishing a notice of proposed

rulemaking to amend the rule. Id.

           6.    Plaintiffs have notified Defendants that one of the declarants who has submitted

declarations in support of Plaintiffs’ motion for preliminary injunction and cross-motion for

summary judgment, Michael Madowitz, would no longer be available for examination in the event

that a trial on the merits were to be held in this case due to his recent change in employment.

Particularly in light of the fact that cases involving Administrative Procedure Act claims are

typically resolved on cross-motions for summary judgment, Defendants have agreed that in the

event that this case were to proceed to resolution on cross-motions for summary judgment,

Defendants would not object to the declarations submitted by Mr. Madowitz on the grounds of his

unavailability for examination at a hypothetical trial on the merits. However, Defendants would

reserve any other potential objections and responses to these declarations. Defendants include this

agreement in this status report at Plaintiffs’ request. The Intervenor-Defendants are not a party to

any agreement respecting Mr. Madowitz’s declarations and reserve all rights.

           7.    In light of the Department’s continuing comprehensive review of the rule, Plaintiffs

and Defendants jointly request that the Court continue the present stay of all pending briefing

deadlines and hold this case in abeyance for an additional fifty (50) days, up to and including

Wednesday, October 27, 2021. Because the Department is exploring administrative actions that


2   https://www2.ed.gov/about/offices/list/ocr/docs/202108-titleix-VRLC.pdf
3   https://www2.ed.gov/about/offices/list/ocr/blog/20210824.html
4https://www2.ed.gov/about/offices/list/ocr/correspondence/stakeholders/20210406-titleix-eo-
14021.pdf



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are likely to alter significantly the course of this litigation—including the publication of a notice

of proposed rulemaking—the interests of the parties and of judicial economy would be well served

by continuing the present abeyance to permit the Department to evaluate potential regulatory

changes. See Util. Solid Waste Activities Grp. v. EPA, 901 F.3d 414, 426 (D.C. Cir. 2018); Pharm.

Care Mgmt. Ass’n v. U.S. Dep’t of Health & Hum. Servs., No. CV 21-95 (JDB), 2021 WL 624229,

at *1 (D.D.C. Jan. 30, 2021) (holding case in abeyance during pendency of agency’s review of

challenged regulation). Intervenor Defendants have informed Plaintiffs and Defendants that they

do not object to this request. The parties agree to meet and confer and file a Joint Status Report

on or before October 27, 2021.


 Date: September 7, 2021                        Respectfully submitted,

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